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                 UNITED STATES DISTRICT COURT
                 EASTERN DISTRICT OF MICHIGAN
                      SOUTHERN DIVISION


 Signature Management Team,
 LLC,
                                              Case No. 13-cv-14005
                  Plaintiff,                  Hon. Judith E. Levy
                                              Mag. Judge David R. Grand
 v.

 John Doe,

                Defendant.
 ________________________________/

                ORDER DENYING DEFENDANT’S
             MOTION FOR SUMMARY JUDGMENT [25]

       This case is before the Court on defendant John Doe’s motion for

 summary      judgment     seeking    dismissal   of    plaintiff    Signature

 Management Team’s claim for injunctive relief under the Copyright Act,

 17 U.S.C. §§ 501 et seq. (Dkt. 25.) Following plaintiff’s declaration and

 motion to compel discovery pursuant to Fed. R. Civ. P. 56(d) (Dkts. 35,

 40), which on November 4, 2015, the Court granted in part and denied

 in part (Dkt. 48), plaintiff conducted the necessary discovery to respond

 to defendant’s motion.        For the reasons stated below, defendant’s

 motion is denied.
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  I.   Background

       Signature Management Team, LLC (“Team”) is a multi-level

 marketing (“MLM”) company that sells motivational materials teaching

 people how to make money in MLM businesses.              Doe writes a blog

 under the pseudonym “Amthrax” that is critical of MLM businesses in

 general and of Team specifically. This action involves the fourth edition

 of a book, “The Team Builder’s Textbook” [hereinafter “the Work”],

 authored in 2009 by Orrin Woodward and Chris Brady, leaders of

 Team. Plaintiffs claim that the Work, currently in its ninth edition, has

 sold over 100,000 copies. (Dkt. 54 at 10, Dkt. 54-2 at 3.)

       Defendant admits that on January 18, 2013, he posted a hyperlink

 on his blog to a PDF copy of the Work, which readers could download to

 their own computers. (Dkt. 26 at 7.) It is not known how many of

 defendant’s blog readers, if any, accessed the PDF file and downloaded

 it to their computers. (Dkt. 54-3 at 14.) Defendant states that even

 though his blog provides an email address through which he can be

 contacted, neither Team nor the authors directly asked him to cease

 and desist.    (Dkt. 26 at 8.)     On February 8, 2013, Team served

 defendant’s blog host provider with a take-down notice pursuant to the


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 Digital Millennium Copyright Act, 17 U.S.C. § 512, and on February 16,

 2013, Doe first learned of Team’s notice and copyright claim through his

 internet provider. (Id. at 8-9.) On February 19, 2013, Doe changed the

 hyperlink on his blog to direct readers to a copy of the Work on a

 website not under his control, and then, on February 22, 2013, on the

 advice of counsel, he removed the hyperlink entirely. (Id. at 9.)

       Defendant avows that he has no intention to repost the Work,

 unless a final adjudication from the Court allows it. (Id.) Defendant

 asserts that his use of an outdated edition of the Work constitutes a

 fair-use limitation to a copyright holder’s exclusive rights under 17

 U.S.C. § 107. (Dkt. 25 at 21-30.) He also argues that plaintiff’s pursuit

 of this lawsuit is a so-called misuse of copyright, which some circuits

 have determined bars a plaintiff from relief. (Id. at 30-32.) Finally,

 defendant asserts that even if infringement is found here, plaintiff is

 not entitled to injunctive relief. (Id. at 32-34.)

       Plaintiff owns the copyright to the Work, and explains that it is an

 instructional work, with different editions applying the same principles,

 but through illustrations from different MLM companies and products.

 (Dkt. 54 at 11-12.)   At the same time, defendant also appears to agree


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 with plaintiff that earlier editions are “effective substitutes” for the

 current edition, and that his free copies had a negative impact on the

 market for the current edition. (Id. at 16.) Putting these two agreed-

 upon facts together, plaintiff asserts that defendant’s distribution of a

 full copy of the fourth edition negatively affected the market for

 plaintiff’s current editions. (Id. at 16.) Both the allegedly infringed

 fourth edition and the current ninth edition are available for

 purchase—the fourth edition for $1.98 and the ninth edition for $23.95.

 (Dkt. 54-8 at 2, Dkt. 54-7 at 2.) Plaintiff does not attempt to quantify

 the monetary damages associated with this asserted negative market

 effect, nor does plaintiff seek monetary damages.

       Plaintiff further argues that defendant receives financial benefit

 from his blog, in that he receives his blogging platform from the host

 provider at no charge as the host provider gains advertisement revenue

 from the blog. (Dkt. 54 at 12.) Plaintiff asserts that defendant’s blog

 specifically targets Team, and not the MLM industry in general, with a

 goal of negatively affecting Team’s business. (Id. at 13-15.) Plaintiff

 provides evidence to show that defendant “has also copied and

 distributed, without permission, a variety of internal documents” from


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 Team and its affiliates, including some in late 2015. (Id. at 16, Dkts.

 54-24, 54-25.)

       Plaintiff opposes defendant’s invocation of fair use (Dkt. 54 at 18-

 30), and further rejects defendant’s misuse defense as inapplicable to

 these facts.     (Id. at 30-32.)   Finally, plaintiff asserts that there are

 genuine issues of material fact regarding its request for injunctive

 relief, particularly on whether defendant is likely to infringe again,

 which prevent the entry of summary judgment. (Id. at 32-33.)

       Defendant replies that plaintiff misstates the standard for fair

 use. (Dkt. 55 at 4-6.) He argues that it is “implausible” that readers,

 who are potential recruits to Team, would see older editions of the Work

 as a “functional substitute” for the current edition; and that here, where

 his use was noncommercial, it is plaintiff’s burden to demonstrate that

 there was meaningful market harm. (Id. at 7-8.) He further rejects

 plaintiff’s contention that there is a genuine issue of fact regarding the

 “substantial likelihood” that he would infringe again.              (Id. at 8.)

 Finally, he asserts that plaintiff has misconstrued the evidence

 regarding his relationship with Team’s competitor, and that none of




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 that evidence supports the conclusion that he is allied with plaintiff’s

 competitor to do plaintiff harm. (Id. at 10.)

 II.   Legal Standard

       Summary judgment is proper where “the movant shows that there

 is no genuine dispute as to any material fact and the movant is entitled

 to judgment as a matter of law.” Fed. R. Civ. P. 56(a). The Court may

 not grant summary judgment if “the evidence is such that a reasonable

 jury could return a verdict for the nonmoving party.”           Anderson v.

 Liberty Lobby, Inc., 477 U.S. 242, 248 (1986). The Court “views the

 evidence, all facts, and any inferences that may be drawn from the facts

 in the light most favorable to the nonmoving party.” Pure Tech Sys.,

 Inc. v. Mt. Hawley Ins. Co., 95 F. App’x 132, 135 (6th Cir. 2004) (citing

 Skousen v. Brighton High Sch., 305 F.3d 520, 526 (6th Cir. 2002)).

       If the moving party bears the burden of persuasion at trial, “his

 showing must be sufficient for the court to hold that no reasonable trier

 of fact could find other than for the moving party.” Calderone v. United

 States, 799 F.2d 254, 259 (6th Cir. 1986)(quotation omitted). When the

 non-moving party would bear the burden of persuasion at trial, the

 moving party can meet its burden under Rule 56 in one to two ways:


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 “[f]irst, the moving party may submit affirmative evidence that negates

 an essential element of the nonmoving party's claim. Second, the

 moving party may demonstrate to the Court that the nonmoving party's

 evidence is insufficient to establish an essential element of the

 nonmoving party's claim.” Celotex Corp. v. Catrett, 477 U.S. 317, 331

 (1986). The reasoning behind this rests on the understanding that if

 the “nonmoving party cannot muster sufficient evidence to make out its

 claim, a trial would be useless and the moving party is entitled to

 summary judgment as a matter of law.” Id. (citing Anderson, 477 U.S.

 at 249).

III.   Analysis

       Evaluating the applicable law and the undisputed facts,

 defendant’s publication of plaintiff’s copyright material does not

 constitute fair use under 17 U.S.C. § 107. Defendant’s copyright misuse

 defense is neither established law in the Sixth Circuit nor properly

 supported by evidence if it were established law. The undisputed facts




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 also point to the need for injunctive relief to protect plaintiff’s copyright,

 but not to the full extent sought by plaintiff.1

           A. Defendant Has Not Demonstrated Fair Use

       Notwithstanding a copyright holder’s exclusive rights, the

 Copyright Act provides for:

       the fair use of a copyrighted work, including such use by
       reproduction in copies . . . or by any other means . . . , for
       purposes such as criticism, comment, news reporting,
       teaching . . . , scholarship, or research, is not an
       infringement of copyright. In determining whether the use
       made of a work in any particular case is a fair use the factors
       to be considered shall include—

       (1) the purpose and character of the use, including whether
           such use is of a commercial nature or is for nonprofit
           educational purposes;

       (2) the nature of the copyrighted work;

       (3) the amount and substantiality of the portion used in
           relation to the copyrighted work as a whole; and

       (4) the effect of the use upon the potential market for or value of
           the copyrighted work.

 17 U.S.C. § 107.




       1Plaintiff’s requested relief included a permanent injunction identifying Doe
 and ordering him to cease all infringing activities regarding the Work, and an order
 impounding and destroying all copies of the Work retained by Doe. (Dkt. 1 at 6-7.)

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       Fair use is an affirmative defense for which defendant bears the

 burden of proof. Princeton Univ. Press v. Mich. Document Servs., Inc.,

 99 F.3d 1381, 1390 n.5 (6th Cir. 1996). “Fair use is a mixed question of

 law and fact” requiring a case-by-case analysis.           Harper & Row

 Publishers, Inc. v. Nation Enters., 471 U.S. 539, 560 (1985). The above

 factors enumerated in the Act are not an exhaustive list, but rather, are

 the ones identified by Congress to be “especially relevant in determining

 whether the use was fair.” Id. “[T]he four statutory factors [are not to]

 be treated in isolation, one from another. All are to be explored, and the

 results weighed together, in light of the purposes of copyright.”

 Campbell v. Acuff-Rose Music, Inc., 510 U.S. 569, 578 (1994).

            1. Purpose and Character of the Use

       The first factor concerns the purpose and character of the use,

 “including whether such use is of a commercial nature or is for

 nonprofit educational purposes.”      Campbell, 510 U.S. at 578.          The

 analysis is guided by the fundamental concern for whether the use

 “adds something new, with a further purpose or different character,

 altering the first with new expression, meaning, or message; it asks, in




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 other words, whether and to what extent the new work is

 ‘transformative.’” Id.

       Indeed, “the more transformative the new work, the less will be

 the significance of other factors, like commercialism, that may weigh

 against a finding of fair use.” Id. at 579. Verbatim copies are not at all

 transformative.    Princeton Univ. Press, 99 F.3d at 1389.          While the

 commercial or non-profit use is a consideration under this factor, an

 educational or non-profit use “does not insulate it from a finding of

 infringement, any more than the commercial character of a use bars a

 finding of fairness.” Campbell, 510 U.S. at 584. This secondary issue

 considers whether “the user stands to profit from exploitation of the

 copyrighted material without paying the customary price.” Balsey v.

 LFP, Inc., 691 F.3d 747, 758 (6th Cir. 2012) (quoting Lexmark Int’l, Inc.

 v. Static Control Components, Inc., 387 F.3d 522, 544 (6th Cir. 2004)).

       Here, defendant’s use is a verbatim copy that was posted in such a

 manner that anyone could download a complete copy of the Work.

 Defendant argues that his hyperlink to a full copy of the Work was as

 connected to his commentary and criticism of Team as “the back page of

 a newspaper is connected to the front.” (Dkt. 25 at 25 (quoting Nicosia


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 v. De Rooy, 72 F. Supp. 2d 1093, 1103 (N.D. Cal. 1999).) This argument

 presupposes that the Work had to be reproduced in its entirety to

 support defendant’s commentary.           However, plaintiff shows that

 defendant also used the Work in a way plaintiff does not challenge—

 offsetting quotations from the Work to illustrate his criticisms. (See

 Dkts. 54-12, 54-13.) Defendant has not articulated how the verbatim

 reproduction of plaintiff’s materials was in any way transformative or,

 barring that, integral to his commentary, especially given that he

 clearly was able to assert and illustrate his ideas with excerpts of the

 Work. (See Dkt. 54-3 at 22 (defendant also acknowledged that he has

 used excerpts and links to sites where copyrighted material is for sale to

 illustrate his commentary).)

       As to whether the use was commercial, defendant argues that his

 blog serves a primary purpose defined by the fair-use section of the

 statute—namely, to provide commentary, criticism and information to

 readers—and that it was without commercial motive. (Dkt. 25 at 23-

 24.) But plaintiff contends that defendant gained free hosting for his

 blog through advertising revenue his blog generated, and that

 defendant pursued a “commercial purpose” through his blog—to harm


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 defendant and benefit Team’s business rivals.             (Dkt. 54 at 23.)

 Defendant does not deny plaintiff’s assertions, but states that he

 derives no financial benefit from his blog. (Dkt. 26 at 2.)

       “The crux of the profit/nonprofit distinction is not whether the sole

 motive of the use is monetary gain but whether the user stands to profit

 from the exploitation of the copyrighted material without paying the

 customary price.” Harper & Row, 471 U.S. at 562. While plaintiff’s

 arguments carry some water with regard to the fourth fair use factor,

 market harm, they only point to an indirect benefit to defendant or

 direct harm to plaintiff. As such, those arguments are too attenuated to

 conclude that defendant’s purpose was commercial under the factor-one

 analysis.

       Factor one, use and purpose, favors plaintiff, given that the use

 was a complete reproduction of the Work. Irrespective of whether the

 use was commercial or non-commercial, the nature of the use here

 weighs significantly in plaintiff’s favor.

             2. Nature of the Work

       The second factor, the nature of the copyrighted work, “calls for

 recognition that some works are closer to the core of intended copyright


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 protection than others, with the consequence that fair use is more

 difficult to establish when the former works are copied.” Campbell, 510

 U.S. at 585.     Analyses of this factor tend to focus on whether the

 copyrighted work is creative as opposed to factual or informational, see,

 e.g., Feist Publ’ns, Inc. v. Rural Tel. Serv. Co., 499 U.S. 340, 348-49

 (1991), and whether the copyrighted work is published or unpublished.

 Harper & Row, 471 U.S. at 563.

       Defendant characterizes the Work as an out-of-print older

 edition—“an historical artifact which documents Team’s ‘story’ circa

 2009 . . . .” (Dkt. 25 at 26.) By contrast, plaintiff describes the Work as

 an original and creative textbook. (Dkt. 54 at 26.) Plaintiff argues that

 the Work may have been supplanted by newer editions, but nonetheless

 could impair plaintiff’s ability to promote new ideas and innovations in

 its latest editions if made available to the public. (Id. at 27.) Defendant

 attempts to analogize the Work to the recording of an earnings call in

 Swatch Group Mgmt. Svcs. Ltd. v. Bloomberg L.P., 756 F.3d 73 (2d Cir.

 2014), which afforded its plaintiff owner only a “thin” right regarding

 this factor of the fair-use analysis, because its nature was factual and




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 the access to this factual information expanded the scope of permissible

 fair use. (Dkt. 25 at 26.)

        This analogy holds if the Work only presents facts, but not if it is

 original in any significant way. Here, defendant argues that because

 different editions of Team’s textbook have focused on different business

 stories, each edition is superseded by the next edition, with the past

 editions being merely an “historical record.”         But defendant has not

 disputed that each edition features plaintiff’s original instructional

 content, even if the examples focus on different business cases—indeed,

 he admits that the Work is a textbook instructing readers on how to

 build an MLM business.        (Dkt. 54-3 at 20.)      Moreover, he does not

 appear to have the basis to make any claims regarding the content of

 the various editions, since he admitted in his deposition that he has not

 read any of the editions other than “parts of the 4th Edition.” (Id. at

 24.)

        Factor two of the fair-use analysis favors plaintiff, because there is

 no dispute that the Work features original content, which is at the heart

 of what the Copyright Act protects.




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             3. Amount and Substantiality of the Portion Used

       As to the third factor, the parties do not dispute that Doe posted a

 copy of the entire work. “While wholesale copying does not preclude fair

 use per se, copying an entire work militates against a finding of fair

 use.” Balsley, 691 F.3d at 760 (quoting Kelly v. Arriba Soft Corp., 336

 F.3d 811, 820 (9th Cir. 2003)). Defendant argues that substantial use

 may nonetheless be fair use, particularly when it is for a transformative

 purpose. (Dkt. 25 at 27.) He also asserts that the court’s reasoning in

 Swatch Group, applies here—that “the more precisely and faithfully the

 entire earnings call was transmitted to the public, the more

 ‘informational value’ it has.”     (Id. at 28 (citing 742, F.3d at 33).)

 However, the use here is not transformative, see discussion section

 III.A.1, supra, and Swatch Group is distinguishable because the

 material here is original, not factual. See discussion section III.A.2,

 supra.

       The third factor in the fair-use analysis also favors plaintiff.

             4. Market Harm

       The fourth factor concerns market harm to the value of plaintiff’s

 copyright, and “is undoubtedly the single most important element of fair


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 use.” Harper & Row, 471 U.S. at 566. “[T]o negate fair use one need

 only show that if the challenged use ‘should become widespread, it

 would adversely affect the potential market for the copyrighted work.’”

 Id. at 568 (quoting Sony Corp. of Am. v. Universal City Studios, Inc.,

 464 U.S. 417, 451 (1984)). The potential for harm to the market for

 derivative works must also be considered. Harper & Row, 471 U.S. at

 568. Subsequent editions of a publication are derivative works. See 17

 U.S.C. § 101 (“A ‘derivative work’ is a work based upon one or more

 preexisting works . . . . A work consisting of editorial revisions,

 annotations, elaborations, or other modifications, which, as a whole,

 represent an original work of authorship, is a ‘derivative work’”).

       Doe argues that he gained no financial benefit from posting the

 fourth edition of the Work, and that the plaintiff has not shown that his

 posting has caused cognizable market harm. (Dkt. 25 at 29.) Plaintiff

 asserts the various editions are “functional equivalent[s],” so that

 defendant’s conduct harmed the market for that edition and the

 subsequent derivative works. (Dkt. 54 at 29 (citing Dkt. 54-3 at 20,

 24).) Defendant had the burden of proof here, and plaintiff has at least

 demonstrated a triable issue on the question of whether defendant’s use


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 harmed the market for the Work and its derivative works, including the

 most current edition.

       Plaintiff has raised a material question of fact as to whether

 defendant’s use caused market harm. Considering that the first three

 fair-use factors favor plaintiff and a question of fact remains on the

 fourth factor, summary judgment cannot be granted to defendant on the

 basis of fair use.

          B. Defendant’s Claim of Copyright Misuse

       Some courts have recognized a copyright misuse defense to

 infringement, analogous to the misuse defense in patent law. See, e.g.,

 Lasercomb Am., Inc. v. Reynolds, 911 F.2d 970, 976-77 (4th Cir. 1990).

 The Sixth Circuit does not appear to have accepted or rejected the

 copyright misuse defense. Microsoft Corp. v. Compusource Distribs.,

 Inc., 115 F. Supp. 2d 800, 810 (E.D. Mich. 2000) (discussing cases).

       The core of this defense is that the holder has used the copyright

 to extend its monopoly beyond the scope of the copyright. See Lasercomb

 Am., 911 F.2d at 976-77; Malibu Media v. Doe, No. 13-11432, 2014 WL

 2616902, at *9-10 (E.D. Mich. June 12, 2014). The doctrine arises from

 the “unclean hands” doctrine of equity and typically applies when a


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 copyright holder has applied tying or other monopolistic practices—and

 only if the defendant is directly harmed by the plaintiff’s action. 4-13

 Nimmer on Copyright § 13.09.              Copyright misuse, where it is

 recognized, applies when a defendant can show: “(1) that [the plaintiff]

 violated the antitrust laws, or (2) that [the plaintiff] illegally extended

 its monopoly beyond the scope of the copyright or violated the public

 policies underlying the copyright laws.” Microsoft Corp., 115 F. Supp.

 2d at 810 (quoting In re Indep. Serv. Orgs. Antitrust Litig., 85 F. Supp.

 2d 1130, 1175 (D. Kan. 2000) (citing Lasercomb Am., 911 F.2d at 978)).

       Doe contends the misuse defense also applies to the use of

 copyright to silence public criticism, citing cases from other circuits.

 (Dkt. 25 at 31.) Defendant argues that plaintiff has pursued this “de

 minimis” infringement as a pretext to identify and silence him. (Id. at

 31-32.)    Plaintiff counters that there is no evidence to support

 defendant’s theory, and it cannot be misusing its copyright by filing an

 infringement action pursuant to the rights it has under the Copyright

 Act. (Dkt. 54 at 31.) Moreover, plaintiff asserts that reproducing an

 entire work is not a “de minimis” violation—one that “is so trivial ‘as to

 fall below the quantitative threshold of substantial similarity, which is


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 already a required element of actionable copying.”             (Id. (quoting

 Calibrated Success, Inc. v. Charters, 72 F. Supp. 3d 763, 770 (E.D. Mich.

 2014)); Gordon v. Nextel Commc'ns & Mullen Advert., Inc., 345 F.3d

 922, 924 (6th Cir. 2003) (quoting Ringgold v. Black Entm’t Television,

 Inc., 126 F.3d 70, 77 (2d Cir. 1997)). Without deciding the issue of

 infringement in the context of the motion before the Court, plaintiff’s

 point is nonetheless a strong one. It is defendant’s burden to show that

 an infringement is not actionable because it is de minimis, and such a

 finding would be uncommon when the work is copied in its entirety.

 See, e.g., Calibrated Success, 72 F. Supp. 3d at 770 (“There is nothing de

 minimis about copying any entire video.”).

       Here, even if the Sixth Circuit clearly recognized the defense of

 copyright misuse, defendant has not met his burden, while plaintiff has

 raised a question of material fact regarding this claim that would

 preclude summary judgment.

          C. Injunctive Relief

       Defendant alternatively argues that plaintiff is not entitled to

 injunctive relief for this act of infringement, even assuming that he is

 found to have infringed on plaintiff’s copyright.          (Dkt. 25 at 32).


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 Defendant cites eBay Inc. v. MercExchange, L.L.C., 547 U.S. 388, 392-93

 (2006), and Bridgeport Music, Inc. v. Justin Combs Publ’g, 507 F.3d

 470, 492 (6th Cir. 2007), in support of his contention that the ordinary

 equitable factors point to a denial of plaintiff’s request injunctive relief.

 (Id. at 32-34.)

       A court may grant injunctive relief “on such terms as it may deem

 reasonable to prevent or restrain infringement of a copyright.” 17

 U.S.C. § 502(a).    The key showing necessary to justify a permanent

 injunction is one “of past infringement and a substantial likelihood of

 future infringement.” Bridgeport Music, 507 F.3d at 492 (quoting 5-14

 Nimmer on Copyright § 14.06). The showing of “substantial likelihood

 of future infringement” must convince the Court that defendant has

 engaged in recurring misconduct or “exhibits an unfortunate tendency

 conveniently to ignore, from time to time . . . plaintiffs’ proprietary

 rights.” Broad. Music, Inc. v. Diamond Inv., Inc., No. 1:11-CV-927, 2013

 WL 1681151, at *6 (S.D. Ind. Apr. 17, 2013) (quoting Milene Music, Inc.

 v. Gotauco, 551 F. Supp. 1288, 1295 (D.R.I. 1982)) (citing Bridgeport

 Music, 507 F.3d at 492; Broad. Music, Inc. v. Niro's Palace, Inc., 619 F.

 Supp. 958, 963 (N.D. Ill. 1985)); see also Virtual Studios, Inc. v.


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 Beaulieu Grp., LLC, 987 F. Supp. 2d 769, 778-79 (E.D. Tenn. 2013).

 Evidence of substantial likelihood can be found in “the magnitude of the

 infringement, whether the infringer maintains possession of the

 infringing product, and whether the infringer can or has continued its

 infringing conduct even after the initiation of court proceedings.”

 Calibrated Success, Inc. v. Charters, 72 F. Supp. 3d 763, 773 (E.D. Mich.

 2014) (further citation omitted).

       Even when there is a finding of substantial likelihood, the

 traditional   factors   for   permanent    injunctions    in   a    copyright-

 infringement case must also be considered before granting an

 injunction. eBay Inc., 547 U.S. at 392–93. The factors necessary for

 plaintiff to secure a permanent injunction are:

       (1) it has suffered an irreparable injury; (2) remedies
       available at law, such as monetary damages, are inadequate
       to compensate for that injury; (3) considering the balance of
       hardships between the plaintiff and defendant, a remedy in
       equity is warranted; and (4) the public interest would not be
       disserved by a permanent injunction.

 Calibrated Success, Inc., 72 F. Supp. 3d at 774 (citing eBay Inc., 547

 U.S. at 391–93). On a motion for summary judgment, the defendant

 can achieve dismissal by demonstrating that plaintiff lacks evidence, or


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 that its evidence is not sufficient, to establish one of these elements.

 See Celotex Corp., 477 U.S. at 331.

       There is no dispute in this case that the Work is an original work

 and its copyright is owned by plaintiff. However, the parties also do not

 dispute that plaintiff removed the document shortly after he was

 informed of the takedown notice. Further, plaintiff has not asserted its

 rights with regard to other materials it has published that appear on

 defendant’s blog. Finally, defendant avows that he has no intention to

 repost the Work, and plaintiffs have not presented evidence to the

 contrary.2

       There is no evidence that defendant has repeatedly ignored

 plaintiff’s asserted rights, a factor that weighs heavily in finding a

 substantial likelihood of future infringement. See, e.g., Virtual Studios,

 Inc. v. Beaulieu Grp., LLC, 987 F. Supp. 2d 769, 778-79 (E.D. Tenn.

 2013) (discussing cases). See also Nat'l Bd. of Med. Exam’rs v. Optima

 Univ. LLC, No. 1:09-CV-01043-JDB-CG, 2011 WL 7615071, at *10

 (W.D. Tenn. Sept. 29, 2011); Music v. Heiman, No. 09-CV-341-BBC,

 2010 WL 1904341, at *5 (W.D. Wis. May 11, 2010). And there is no

 2 Defendant qualifies his statement by adding that he reserves the right to repost
 the Work if this Court clearly indicates that it is lawful to do so. (Dkt. 26 at 9.)
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 indication of how an injunction against this defendant can prevent the

 potential harm that might result from someone in possession of the file

 reposting it. See, e.g., Perfect 10, Inc. v. Google, Inc., 653 F.3d 976, 981

 (9th Cir. 2011) (upholding district court’s denial of injunctive relief

 because there was no indication of how the potential harm of

 bankruptcy would be forestalled by injunctive relief).

       Nonetheless, defendant apparently still possesses a full PDF copy

 of the Work, and admits that other copies may exist on the computers of

 individuals who downloaded a copy from his blog posting. Moreover,

 there is no evidence regarding how many, if any, of his blog readers

 downloaded the copy. A sister court has found that similar conditions

 support injunctive relief. See, e.g., ABKCO Music, Inc. v. Washington,

 No. 11-10763, 2011 WL 4953078, at *12 (E.D. Mich. Oct. 18, 2011) (“The

 ability to remove the infringing material does not prevent the harm

 that may be caused by the initial access[i]bility, no matter how brief, of

 the infringing material.”). However, in that case, the defendants did

 not properly brief the issue of the infringing video posted online, and

 there was a material issue of fact regarding whether the video had been




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 taken offline; therefore, the plaintiffs’ assertions regarding the need for

 injunctive relief were deemed unopposed. Id. at *6-7, *11-12.

       Plaintiff also provides an email exchange between defendant and

 a colleague who is a proponent of plaintiff’s main competitor, Amway.

 (Dkt. 54-23; Dkt. 54-3 at 11.)       Plaintiff argues that this exchange

 demonstrates     defendant’s    positive   response    to    the   impact   his

 infringement of plaintiff’s work had on Amway and demonstrates

 defendant’s desire to harm plaintiff’s business.            (Dkt. 54 at 14-15

 (discussing Dkt. 54-23).)      Defendant resolutely rejects that he has

 sought to benefit Amway and asserts that plaintiff has misunderstood a

 specific criticism in his blog. (Dkt. 55 at 10 (“It is absurd to suggest

 that the Amthrax Blog—the very title of which suggests that Amway is

 toxic—is pro-Amway or even neutral towards Amway.”) & n.10.)

       Defendant’s disavowal of any future infringement aside, there is

 defendant’s admission that he retains a copy of the Work, and he has

 admitted that he posted the Work in its entirety online. The injunctive

 relief factors do not favor defendant in this matter; therefore,

 defendant’s motion regarding injunctive relief is denied.




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          D. Relief Due Plaintiff

       Under Fed. R. Civ. P. 56(f)(1), courts may grant summary

 judgment for a nonmovant, provided there has been notice and a

 reasonable time for the parties to respond. Additionally, the Court may

 grant injunctive relief under the Copyright Act “on such terms as it may

 deem reasonable to prevent or restrain infringement of a copyright.” 17

 U.S.C. § 502(a).    Among the remedies for infringement available to

 courts is the ability to order the impounding and disposition of

 infringing articles. 17 U.S.C. § 503.

       Here, plaintiff argues that defendant’s retention of a full copy of

 the Work, his animus towards Team, and his continued copying and

 posting of digital copies of internal Team documents constitute the

 substantial likelihood of future infringement requireed for injunctive

 relief. (Dkt. 54 at 32-33.) While defendant admits his possession of the

 Work, he has avowed not to persist in the infringement, and plaintiff

 has not shown this to be false. Moreover, there is no evidence that

 plaintiff has sought to vindicate its rights regarding any of the

 documents it asserts defendant has posted online despite its copyright.




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       An additional consideration in this matter is defendant’s

 anonymity and plaintiff’s specific request for injunctive relief to reveal

 his identity.   As discussed in the Court’s previous order compelling

 discovery, the decision to unmask an anonymous speaker requires “a

 balancing between the merits of the plaintiff’s claim or need for the

 information, compared with the rights of the defendant to speak

 anonymously.” (Dkt. 48 at 14-15.) In that prior order, plaintiff’s need

 was to ascertain the nature of the alleged infringement and to inquire

 about whether there is substantial likelihood of future infringement, on

 a theory that defendant had significant ties to business competitors and

 thereby held a motive to harm plaintiff and/or derived financial benefit

 from his infringement of the Work. (Id. at 13-14, 22.) Defendant had

 asserted that a credible specter of harassment by plaintiff justified the

 need for continued anonymity. (Id. at 26.)

       With defendant’s admission that he infringed on plaintiff’s

 copyright, and the finding that summary judgment cannot be granted

 on his affirmative defenses, the remaining question before the Court is

 the extent of injunctive relief due plaintiff. The Court is inclined to

 enter an order requiring plaintiff to destroy all copies in all formats and


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 media of the Work still in his possession and provide suitable

 confirmation to plaintiff that he has done so, under the name of John

 Doe. Further unmasking of defendant has not been shown to be

 necessary in light of defendant’s sworn testimony that he will not

 engage in future infringement with respect to the Work, and there

 being no evidence that any infringement has taken place during the

 lengthy time this case has been pending.

       The Court believes that in light of the above, summary judgment

 is warranted in plaintiff’s favor with regard to its claim for copyright

 infringement and limited injunctive relief. Fed. R. Civ. P. 56(f) permits

 the Court to enter summary judgment in favor of a nonmovant after

 giving notice and a reasonable time to respond. Accordingly, the Court

 will permit the parties to submit supplemental briefing no later than

 June 28, 2016, regarding the entry of summary judgment for plaintiff.

 IV.   CONCLUSION

       For the reasons provided above, defendant cannot demonstrate

 that his posting of a full copy of plaintiff’s copyrighted material was fair

 use as defined by 17 U.S.C. § 107 and the controlling case law.

 Defendant’s attempt to apply a “copyright misuse” defense is also


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 unavailing.    Finally, there are material issues of fact that prevent

 dismissal of plaintiff’s prayer for injunctive relief at this stage.

 Defendant’s motion for summary judgment (Dkt. 25) is hereby

 DENIED.

       The parties are permitted to submit supplemental briefing no

 later than June 28, 2016, regarding the potential entry of summary

 judgment in favor of plaintiff on its infringement claim and

 corresponding injunctive relief.

       IT IS SO ORDERED.

 Dated: May 19, 2016                       s/Judith E. Levy
 Ann Arbor, Michigan                       JUDITH E. LEVY
                                           United States District Judge

                       CERTIFICATE OF SERVICE

       The undersigned certifies that the foregoing document was served
 upon counsel of record and any unrepresented parties via the Court’s
 ECF System to their respective email or First Class U.S. mail addresses
 disclosed on the Notice of Electronic Filing on May 19, 2016.

                                           s/Felicia M. Moses
                                           FELICIA M. MOSES
                                           Case Manager




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